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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

CHRISTIAN CHARLES,
Plaintiff,
Vv.

No. 18 Civ. 01196 (AJN) (KHP)

JERRY SEINFELD, COLUMBUS 81
PRODUCTIONS, INC., EMBASSY ROW, LLC,
COMEDIANS IN CARS, LLC, SONY PICTURES
TELEVISION INC., and NETFLIX, INC.,

Defendants.

 

 

DEFENDANTS JERRY SEINFELD, COLUMBUS 81 PRODUCTIONS, INC., AND
COMEDIANS IN CARS, LLC
NOTICE OF MOTION FOR ATTORNEYS’ FEES AND COSTS

PLEASE TAKE NOTICE that, based upon the accompanying Memorandum of Law,
dated October 15, 2019, and the accompanying declaration of David M. Kusnetz, dated October
15, 2019, together with the exhibits attached thereto, as well as all prior pleadings and
proceedings had herein and such argument as may be received by this Court at the time of a
hearing, Defendants Jerry Seinfeld, Columbus 81 Productions, Inc., and Comedians in Cars,
LLC, through their undersigned attorneys, move this Court, before the Honorable Alison J.
Nathan, at the Thurgood Marshall United States Courthouse, 40 Foley Square, New York, New
York 10007, Courtroom 906, on a date and at a time designated by the Court, for an award of
attorneys’ fees and costs pursuant to Section 505 of the Copyright Act and Rule 54 of the Federal
Rules of Civil Procedure, together with such other and further relief as the Court may deem just

and proper.
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Dated: New York, New York
October 15, 2019

Respectfully Submitted,

GIBSON, DUNN & CRUTCHER LLP

By: /s/ Orin Snyder

Orin Snyder

David M. Kusnetz

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Attorneys for Defendants Jerry Seinfeld,
Columbus 81 Productions, Inc., Embassy
Row, LLC, Comedians in Cars, LLC,
Sony Pictures Television Inc., and
Netflix, Inc.
